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     Operating Engineers Pension Trust, et al.
 7

 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10

11   TRUSTEES OF THE OPERATING                       Case No. 5:21 cv 00492 JWH SHK
     ENGINEERS PENSION TRUST,
12   TRUSTEES OF THE OPERATING                       Assigned to the Honorable John W.
     ENGINEERS HEALTH AND WELFARE                    Holcomb
13   FUND, TRUSTEES OF THE
     OPERATING ENGINEERS VACATION-                   STIPULATION FOR ENTRY OF
14   HOLIDAY SAVINGS TRUST,                          JUDGMENT
     TRUSTEES OF THE OPERATING
15   ENGINEERS TRAINING TRUST,
     TRUSTEES OF THE OPERATING
16   ENGINEERS LOCAL 12 DEFINED
     CONTRIBUTION TRUST, ENGINEERS
17   CONTRACT COMPLIANCE
     COMMITTEE FUND, and SOUTHERN
18   CALIFORNIA PARTNERSHIP FOR
     JOBS FUND,
19
                              Plaintiffs,
20
                 v.
21
     TRISTAN GENERAL ENGINEERING,
22   CORPORATION, a California
     corporation,
23
                              Defendant.
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                                                 1
                             STIPULATION FOR ENTRY OF JUDGMENT
     1549334
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      TO THE HONORABLE JOHN W. HOLCOMB, UNITED STATES DISTRICT
  2   COURT JUDGE:
  3         IT IS HEREBY STIPULATED AND AGREED, by and among Plaintiffs,
  4   Trustees of the Operating Engineers Pension Trust, Trustees of the Operating
  5   Engineers Health and Welfare Fund, Trustees of the Operating Engineers Vacation-
  6   Holiday Savings Trust, Trustees of the Operating Engineers Training Trust, and
  7   Trustees of the Operating Engineers Local 12 Defined Contribution Trust, Engineers
  8   Contract Compliance Committee Fund, and Southern California Partnership for Jobs
  9   Fund (collectively, the "Trustees") and Defendant, Tristan General Engineering, Inc.,
 I0   a California corporation ("Defendant"), that subject to the approval of the Court:
 II         1.     With regard to the claims raised by Trustees in the within lawsuit,
 12   Defendant is liable to the Trustees for the amount of $55,956.43.
 13         2.     Judgment shall be entered against Defendant, and in favor of Trustees, in
 14   the amount of $55,956.43, plus pre-judgment and post-judgment interest calculated at
 15   8% per annum from May 15, 2021, until paid in full, in the form attached hereto as
 16   Exhibit 1.
 17

 18   IT IS SO STIPULATED:
 19              15 2021
      DATED: June_,                   LAQUER, URBAN, CLIFFORD & HODGE LLP
20
                                      By:    Is/ Michael Y. Jung
21                                           Michael Y. Jung, Attorney for Plaintiffs
22                                           Trustees of the Operating Engineers Pension
                                             Trust, et al.
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25    DATED: June f5, 2021            TRISTAN GENERAL ENGINEERING, INC.
26
 27
                                      By:    -!fed cfuim
                                                 id Tnstan, Secretary/Chief Fmanc1al Officer
                                             of Defendant Tristan General Engineering
28
                                             Corporation

                               STIPULATION FOR ENTRY OF JUDGMENT
